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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


LINITED STATES OF AMERICA,                          )
                                                    )
               Plaintiff,                           )
                                                    )
       VS                                           )       Cr. No. 17-3246MY
                                                    )
KERON LUCIOUS,                                      )
                                                    )
               Defendant                            )




                                 AMENDED PLEA AGREEMENT

       Pursuant to Rule     1l(c)(l)(C), Fed. R. Crim. P., the parties notify the Court of the

following agreement between the United States Attomey for the District of New Mexico, the

Defendant, KERON LUCIOUS, and the Defendant's counsel, Douglas Couleur. The parties

intend for this amended plea agreement to supersede all other plea agreements previously entered

into by KERON LUCIOUS and the United States:

                               REPRESENTATION BY COUNSEL

        l.     The Defendant understands the Defendant's right to be represented by an attomey

and is so represented. The Defendant has thoroughly reviewed all aspects of this case with the

Defendant's attomey and is fully satisfied with that attorney's legal representation.

                                 RIGHTS OF THE DEFENDANT

       2.      The Defendant further understands the Defendant's rights:

               a.      To be charged by indictment

               b.      to plead not guilty, or having already so pleaded, to persist in that plea;

               c.      to have atrial by jury; and
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              d.      at a trial:

                      1)       to confront and cross-examine adverse witnesses,

                      2)       to be protected from compelled self-incrimination,

                      3)       to testify and present evidence on the Defendant's own behalf, and

                      4)       to compel the attendance of witnesses for the defense.

                      WAIVER OF RIGHTS AND PLEA OF GUILTY

        3.    The Defendant agrees to waive these rights and to plead guilty to Count 1 of the

superseding information, charging a violation of    l8 U.S.C. $ 1594(c), that being Conspiracy to

Commit Sex Trafficking as that crime is defined in 18 U.S.C. $ 1591(a)(2) and (bX2).

                                           SENTENCING

        4.    The Defendant understands that the maximum penalty provided by law for this

offense is:

              a.      imprisonment for a period of not more than life;

              b.      a fine not to exceed the greater   of $250,000 or twice the pecuniary gain to

                      the Defendant or pecuniary loss to the victim;

              c.      a   term of supervised release of not less than five years and not more than

                      life to follow any term of imprisonment. (If the Defendant serves         a term


                      of imprisonment, is then released on supervised release, and violates the

                      conditions of supervised release, the Defendant's supervised release could

                      be revoked        even on the last day   ofthe term       and the Defendant could
                                    -                                       -
                      then be retumed to another period of incarceration and a new term        of

                      supervised release.);


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               d.      a mandatory special penalty assessment            of $100.00;

               e.      a $5000 additional assessment under the Justice for             Victims of Trafficking

                       Act of 2015, if the Court determines the defendant is not indigent, and

               f.      restitution as may be ordered by the Court.

        5.     The parties recognize that the federal sentencing guidelines are advisory, and that

the Court is required to consider them in determining the sentence it imposes.

       6.      The parties are aware that the Court        will   decide whether to accept or reject this plea

agreement. The Court may defer its decision       as   to acceptance or rejection until there has been an

opportunity to consider the presentence report. Pursuant to Federal Rule of Criminal Procedure

1l(c)(5), if the Court rejects this plea agreement, the defendant shall have the right to withdraw

the defendant's plea of guilty.

       7   .   Regardless of any other provision in this agreement, the United States reserves the

right to provide to the United States Pretrial Services and Probation Office and to the Court any

information the United States believes may be helpfulto the Court, including but not limited to

information about the recommendations contained in this agreement and any relevant conduct

underU.S.S.G. $ 181.3.

                                  ELEMBNTS OF THE OFFENSE

       8.      If this matter proceeded to trial, the Defendant understands that the United           States


would be required to prove, beyond a reasonable doubt, the following elements for violations of

the charge listed below:

       Count 1: 18 U.S.C.   Q   1594(c\. that beine. Conspiracy to Commit Sex Traffickine as that

        crime is defined in l8 U.S.C.   Q   1591(aX2) and (bX2).


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                 First:            The Defendant and another person agreed, combined, or
                                   confederated;

                Second:            The Defendant acted interdependently with other persons;

                 Third:            to commit sex trafficking as that crime is defined in l8 U.S.C.   $
                                    lsel(a)(2) and (b)(2).


                               DEFENDANT'S ADMISSION OF TACTS

        9.      By my signature on this plea agreement, I am acknowledging that I am pleading

guilty because I am, in fact, guilty of the offense to which I am pleading guilty. I recognize and

accept responsibility for my criminal       conduct. Moreover, in pleading guilty, I acknowledge that

if I chose to go to trial   instead of entering this plea, the United States could prove facts sufficient

to establish my guilt of the offense to which I am pleading guilty beyond a reasonable doubt,

including any facts alleged in the fourth superseding indictment that increase the statutory

minimum or maximum penalties. I specifically admit the following facts related to the charges

against me, and declare under penalty of perjury that'all of these facts are true and correct:

                Between on or about April 2017 and June 2017 , in Bernalillo County, in the

        District of New Mexico, I, Keron Lucious, agreed with co-conspirators Jason

        Jackson, Devin Perkins and Breaunna Langton to Commit Sex Trafficking as that

        crime is defined in 18 U.S.C. $ 1591(a)(2) and (bX2).Specifically, my co-

        conspirators and I agreed to benefit, financially or by receiving anything of value,

        from participating in       a   venture engaged in the acts of recruiting, enticing,

        harboring, maintaining, obtaining, transporting, providing, and advertising Jane

        Doe 1, as referenced in the Superseding Criminal Information.             I had a reasonable

        opportunity to observe Jane Doe 1 on more than one occasion, and agree that the

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       Government could prove that Jane Doe 1 was between 14 and 18 years old in April,

       2017, and    June,2017. As part of the venture, Jane Doe I would be caused to

       engage in prostitution, which is a commercial sex act. The venture secured hotel

       rooms for her to use to engage in commercial sex acts. We did rent hotel rooms for

       the purpose of others to engage in commercial sex acts, including Jane Doe I. We

       also used Facebook accounts and cellular phones, which         I now know operate in

       interstate commerce, to communicate with each other about the logistics of our sex

       trafficking activities, to include how the money would be split up.

                 My co-conspirators and I acted interdependently with one another. Each of

       us had different roles in the conspiracy, and we relied on one another to commit sex

       trafficking.

       9a.       The factual basis in Paragraph 9 of the Amended Plea Agreement amends and

supersedes the factual basis in Document 254,Plea Agreement, and any statements made in the

course of the plea proceeding on September 27 ,2019, and the parties agree that no statement

made in Document 254,Plea Agreement, or at the September 27,2019,p\ea proceedings, shall

be admissible for any purpose by or against any party.

        10.      By signing this agreement, the Defendant admits that there is a factual basis for

each element of the crime to which the Defendant is pleading    guilty.   The Defendant agrees that

the Court may rely on any of these facts, as well as facts in the presentence report, to determine

the Defendant's sentence, including, but not limited to, the advisory guideline offense level.

                                     RECOMMENDATIONS

        1   l.   The United States and the Defendant recommend as follows:


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                   a.     The Defendant and the United States have made an AGREEMENT

                          pursuant to Federal Rule of Criminal Procedure I I (c)( 1 )(C) , that a specific

                          sentence of five (5) to twelve (12) years imprisonment is the appropriate

                          disposition in this case. This agreement takes into account the

                          Defendant's acceptance of responsibility, with no further reduction to

                          occur. The remaining components of the Defendant's            sentence, including

                          but not limited to any fine or restitution and the length and conditions of

                          supervised release, shall be imposed by the Court after the presentation      of

                          evidence and/or argument by the parties.

                   b.     If the Court accepts the plea agreement, it must inform the Defendant that

                          the agreed upon disposition    will   be included in the judgment, and the

                          Court is bound by the terms of the plea agreement once the Court accepts

                          the plea agreement.

                          DEF'ENDANT'S ADDITIONAL AGREEMENT

          12.      The Defendant understands the Defendant's obligation to provide the United

States Pretrial Services and Probation Office with truthful, accurate, and complete information.

The Defendant represents that the Defendant has complied with and            will   continue to comply with

this obligation.

          13.      The Defendant agrees that any financial records and information provided by the

Defendant to the Probation Office, before or after sentencing, may be disclosed to the United

States   Attorney's Office for use in the collection of any unpaid financial obligation.




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          14.     Except under circumstances where the Court, acting on its own, rejects this plea

agreement, the Defendant agrees that, upon the Defendant's signing of this plea agreement, the

facts that the Defendant has admitted under this plea agreement as set forth above, as well as any

facts to which the Defendant admits in open court at the Defendant's plea hearing, shall be

admissible against the Defendant under Federal Rule of Evidence 801(dX2XA) in any

subsequent proceeding, including a criminal trial, and the Defendant expressly waives the

Defendant's rights under Federal Rule of Criminal Procedure I l(fl and Federal Rule of Evidence

410 with regard to the facts the Defendant admits in conjunction with this plea agreement. The

Court has not acted on its own   if   its rejection of the plea agreement occurs after Defendant has

expressly or implicitly suggested to the Court a desire or willingness to withdraw his or her plea

or not to be bound by the terms of this plea agreement.

         15.      By signing this plea agreement, the Defendant waives the right to withdraw the

defendant's plea of guilty pursuant to Federal Rule of Criminal Procedure 1l(d) unless (1) the

court rejects the plea agreement pursuant to Federal Rule of Criminal Procedure I 1(c)(5) or (2)

the Defendant can show a fair and just reason as those terms are used in Rule I 1(d)(2)(B) for

requesting the    withdrawal. Furthermore, Defendant      understands that   if the court rejects the plea

agreement, whether or not Defendant withdraws the guilty plea, the United States is relieved         of

any obligation it had under the agreement and Defendant shall be subject to prosecution for any

federal, state, or local crime which this agreement otherwise anticipated would be dismissed or

not prosecuted.

         16.      The Defendant recognizes that this plea agreement has already conferred a benefit

on the   Defendant. Consequently, in return for the benefit conferred on the Defendant by


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entering into this agreement, the Defendant agrees not to seek a downward departure or variance

from the specific sentence of five (5) to twelve (12) years as agreed to by the parties pursuant to

Rule 11(c)(l)(C) of the Federal rules of Criminal Procedure. If the Defendant, in violation of

this paragraph, should nevertheless seek a downward departure or variance, including a departure

or variance from the guideline Criminal History Category, the United States shall have the right

to treat this plea agreement as null and void and to proceed to trial on all charges before the

Court.

                                              RESTITUTION

         17.   The parties agree that, as part of the Defendant's sentence, the Court      will enter an

order of restitution pursuant to the Mandatory Victim's Restitution Act,       l8 U.S.C. $ 36634.

                SEX OFFENDER REGISTRATION AND NOTIFICATION

         18.   The Defendant understands that by pleading guilty, the Defendant          will   be required

to register as a sex offender upon the Defendant's release from prison as a condition of

supervised release pursuant to   l8 U.S.C. $ 3583(d).        The Defendant also understands that

independent of supervised release, the Defendant      will   be subject to federal and state sex offender

registration requirements, and that those requirements may apply throughout the Defendant's

life. The Defendant   understands that the Defendant shall keep the Defendant's registration

current, shall notify the state sex offender registration agency or agencies ofany changes to the

Defendant's name, place of residence, employment, or student status, or other relevant

information within three business days after such change. The Defendant shall comply with

requirements to periodically   verifr in person the Defendant's sex offender registration

information. The Defendant understands that the Defendant will be subject to possible federal


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and state penalties for failure to comply with any such sex offender registration requirements.        If
the Defendant resides in New Mexico following release from prison, the Defendant        will    be

subject to the registration requirements of NMSA 5     29-llA-4.     The Defendant further

understands that, under 18 U.S.C. $ 4042(c), notice    will   be provided to certain law enforcement

agencies upon the Defendant's release from confinement following conviction.

          19-    As a condition of supervised release, the Defendant shall initially register with the

state sex offender registration in New Mexico, and shall also register with the state sex offender

registration agency in any state where the Defendant resides, is employed, works, or is a student,

as directed by the Probation   Officer.   The Defendant shall comply with all requirements      of

federal and state sex offender registration laws, including the requirements to update the

Defendant's registration information. The Defendant shall provide proof of registration to the

Probation Officer within 72 hours of release from imprisonment.

                                 WAIVER OF APPBAL RIGHTS

         20.     The Defendant is aware that28 U.S.C. $ 1291 and 18 U.S.C. 5 3742 afford a

defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the

Defendant knowingly waives the right to appeal the Defendant's conviction(s) and any sentence,

including any fine, imposed in conformity with this Fed. R. Crim. P. 11(c)(l)(C) plea agreement,

as   well as any order of restitution entered by the Court. The Defendant also waives the right to

appeal any sentence imposed below or within the Guideline range upon a revocation        of

supervised release in this cause   number. In addition, the Defendant     agrees to waive any

collateral attack to the Defendant's conviction(s) and any sentence, including any fine, pursuant




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to 28 U.S.C. $$ 2241 ar225i,or any other extraordinary writ, except on the issue of deferme

s,oun$el'$   inefhctive assistance,

                        G   OYSRI{I.I,IENT1S AI}pITTONAL AGREEMpLTT

        21" Provided *rat the Defendant fulfills the Defendant's obligations as set out above,
the United States agrees that:
                                                                                      ,W
               a. Following sentencingn the United States will move to dlsmiss *VD fZC LCr,
                        @**the                    indictment
                                                                                              VLL
                 b.      The United States   will nstbring additional criminal charges against the

                         Defendant arisingout of the facts forming the basis sf the pre$ent

                         indictrnent.

        22.      Thls agreenrerrt is llrnited to ths United States A(omey's Office for the District of

New Mexico and does not bind any other federal, state, or local agencies or proseeuting

authorities.

                                        VOLUNTARY PLEA

        23.      The Defendant agrees and reprcsents that this plea of guilry is freely and

voluntarily made and is notthe result of foree, threat$, or prrrmises (otherthan thepromises set

forth in this agwment and any addenda). The Defendant also represents thatthe D-efendant is

pleading guilty because the Defendant is in fact guilty.

                              VI0LITTION OF PLS.A,ASREEIIIENT

        24"      The Defendant agrees that if the Defendant violates any provision of this

agrosmenq the United States rnay deelare this agreement null and void, and the Defendant       will

thereafter be subject to prosecution for any qirninal violatio&   incMing but not limited to any


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crime(s) or offense(s) contained in or related to the charges in this case, as well as perjury, false

statement, obstruction ofjustice, and any other crime committed by the Defendant during this

prosecution.

                                    SPECIAL ASSESSMENT

       25.     At the time of sentencing, the Defendant will tender to the United States District

Court, District of New Mexico, 333 Lomas Blvd. NW, Suite 270, Albuquerque, New Mexico

87102, a money order or certified check payable to the order of the United States       District

Court in the amount of $100 in payment of the special penalty assessment described above.

                                 ENTIRETY OF AGRI,EMENT

       26.     This document and any addenda are a complete statement of the agreement in this

case and may not be altered unless done so in   writing and signed by all parties. This agreement

is effective upon signature by the Defendant and an Assistant United States Attorney.

       AGREED TO AND SIGNED this             30   day   of                   2021.

                                                        FRED J. FEDERICI
                                                        Acting United States Attorney



                                                                  CARROLL SIMMS
                                                        Assistant United States Attorneys
                                                        Post Office Box 607
                                                        Albuquerque, New Mexico 87102
                                                        (s1s) 346-7274




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        I have carefully discussed every paft of this agreement with my client. Further, I have
fully advised my client of my client's rights, of possible defenses, of the sentencing factors set
forth in l8 U.S.C. $ 3553(a), of the relevant Sentencing Guidelines provisions, and of tl,e
consequences of entering into this agreement. In addition, I have explained to my client the
elements to each offense to which she/he is pleading guilty. To my knowledge, my client's
decision to enter into this agreement is an informed and voluntary one.




                                                      ?*                  uKA.
                                                      DOUGLAS COULEUR
                                                      Attorney for the Defendant


        I have carefully discussed every part of this agreement r.vith my attorney. I understand
the terms of this agreement, and I voluntarily agree to those terms. My attorney has advised me
of my rights, of possible defenses, of the sentencing factors set forth in 18 U.S.C. $ 3553(a), of
the relevant Sentencing Guidelines provisions, and o the conseq            of entering into this
agreement.




                                                      KERON LUCIOUS
                                                      Defendant




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